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Case 3:17-cv-05832-RBL Document 23 Filed 01/23/18 Page 1 of 20

THE UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF

WASHINGTON

Margaret Bozgoz, Pro Se
Plaintiffs.
Elda Yockman, Pro Se

vs.

ROY A. UMLAUEF, JEFFREY T. KESTLE,
& LESLEY FLEMING of

Forsberg & Umlauf

YOUSSEF ESSAKHI and JANE DOE

ESSAKITII, husband and wile,

LIFE TRANSPORTATION INC,
Washington Corporation,

ZURICH AMERICA INSURANCE
Rep: DARYLL JOHNSTON and ATTORNEY
WILLIAM OBRIEN

STANELY RUMBAUGH
Pierce County Judge

CAROL FREDERICK
Pierce County Court Reporter

SHAUN LINSE
Pierce County Court Reporter

MERRI REAGAN
Pierce County Court Clerk

PETER ANGELO LAW FIRM
Plaintiff's Former Attorncy

BRUCE WOLF
Plaintiff's Former Attorney
Defendants

No.: 3:17-cv-05832-RBL

AMENDED CLAIM

RICO

‘ADA Civil Rights Violation under: TITLE U,
TITLE WW & Title V1

42 U.S.C. Chapter 126

42 USC § 1983

42 USC §1985

Bad Faith

HIPAA

Willful Negligence

Willful Discrimination
Willful Emotional Distress

 

ICLERK’S ACTION REQUIRED]

 

 

 

 

Bozgoz, Margaret:
Bur Court Unit A - Fort Meade, MD 20755

410-858-0107 or 540-816-0950 (ADA Advocate)

 
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Case 3:17-cv-05832-RBL Document 23 Filed 01/23/18 Page 2 of 20

I. introduction

1. I, Lieutenant Colonel (retired) Margaret Bozgoz, Service Disabled Veteran,
Wounded Warrior and ADA Advocate declare under penalty and perjury of the laws of
Washington that I am over the age of eighteen. 1 am a Pre Se Plaintiff in the above Federal: (1)
RICO, (2) Civil Rights Violation, (3) Neglect, (4) HIPAA and (5) Willful Discrimination Claim
against the above listed defendants.

2, I, Elda Yockman declare under penalty and perjury of the laws of Washington
thal 1 am over the agc of eighteen. Iam a Pro Se Plaintiff in the above Federal: (1) RICO, (2)
ADA Civil Rights Violation, (3) Neglect, (4) HIPAA and (5) Willful Discrimmation Claim
against the above listed defendants. I fall under the ADA due to my disability which effects —
daily activities.

"Allegations such as those asserted by petitioner, however in artfully pleaded, are
sufficient”... "which we hold to less stringent standards than formal pleadings drafted by
lawyers." as "Pleadings are intended to serve as a means of arriving at fair and just settlements
of controversies between litigants. They should not raise barriers which prevent the achievement
of that end. Proper pleading is important, but its importance consists in its effectiveness as a
means to accomplish the end of a just judgment." Maty v. Grasselli Chemical Co., 303 U.S. 197
(7938). .

The practice of Law is an eccupation of common right, the same being a secured liberty
right, (Sims v. Aherns, 271 S.W. 720 (1925). Should any state convert a secured liberty righi into
a privilege, charge a fee and issue a license for it, one may ignore the license and fee and
engage in the exercise of the right with impunity. (Shuttlesworth vs. City of Birmingham 373 U.S.
262 (1962). One who relies on prior decisions of the Supreme Court has a perfect defense for
willfulness. (U.S. v. Bishop, 412 U.S. 346 (1973), as “The claim and exercise of a Constitutional
right cunnot be converted into a crime.” (Miller v. U.S., 230 F.2d. 486, 489 (1956).

3. This Federal (RICO, ADA Civil Rights TITLE 1, TITLE II & Title VI and
42 U.S.C. Chapter 126, 42 USC § 1983, 1985, Bad Faith/HIPAA, Negligence and Willful
Discrimination Violation) claim is against the following Zurich Associates [Defendants]:

(1) Roy A. Umlauf, Seattle Washington

Bozgoz, Margaret:
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Case 3:17-cv-05832-RBL Document 23 Filed 01/23/18 Page 3 of 20

(2) Jeffrey T. Kestle, Seattle Washington

(3) Lesley Fleming of Tacoma/Seattle Washington

(4) Forsberg & Umlauf, Seattle Washington

(3) Youssef Essakhi and Jane, Pierce County

(6). LIFE Transportation, Inc., Tacoma, Washington

(7) Zurich America Insurance, William O’Brien, Seattle, Washington
(8) Zurich America Insurance, Daryll Johnston, Schaumburg, IL
(9) Peter Angelo, Law Firm, Baltimore, Maryland

(10) Judge Stanley Rumbaugh, Pierce County

(11) Court Reporter Carol Frederick, Pierce County

(12) Court Reporter, Shaun Linse, Pierce County

(13) Court Clerk, Merri Reagan, Pierce County

(14) Attorney Bruce Woilf, Seattle Washington

4, The ADA violations were done willfully against, Lieutenant Colonel (retired)

Margaret Bozgoz and Elda Yockman personally.

5. The American Disability Act of 1990 states that the Federal Government plays a

role in enforcing the standards. More specifically, Sec 12101 (a) sections 1-8, Congress finds

that (1) physical or mental disabilities in no way diminish a person’s nght to participate in all

aspects of society fully, yet many people with disabilities have been precluded from doing so

because of discrimination, (2) individuals with disabilities continually encounter various forms

of discrimination, including outright exclusion, overprotective rules and policies, failure to make

modifications to existing practices, exclusionary qualifications standards and criteria,

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Case 3:17-cv-05832-RBL Document 23 Filed 01/23/18 Page 4 of 20

segregation, and relegations to lesser services, programs, activities, benefits, jobs or other
opportunities,

6. The willful violations started on or about 15 June 2015 after Elda Yockman gave
Lieutenant Colonel (retired) Margaret Bozgoz a full POA (Exhibit 1, POA) due to her disability
and under ADA, ADAA, Title I, II, ITI, V, VII & 42 USC 1983 and 42 Chapter 126 — Equal
opportunity for individuals with disabilities.

Davis vy. Wechler, 263 U.S. 22, 24; Stromberb v. California, 283 U.S. 359, NAACP vy,
Alabama, 375 U.S. 449. "The assertion of federal rights, when plainly and reasonably made, are
not to be defeated under the name of local practice. Elmore v. McCammon (1986) 640 F. Supp.
905. ".. Federal Rules of Civil Procedures, Rule 17, 28 USCA "Next Friend." A next friend is a
person who represents someone who is unable to tend to his or her own interest.

7. The defendants listed on the face of the claim are all associated (directly or
indirectly) with one company, Zurich America Insurance Company. Zurich America

Insurance Company is an international Insurance company with Offices and or Attorneys in

Seattle, Washington and Schaumbug, IL and ete.

8 This claim was also filed in Seattle (Exhibit 2, Initial Claim, Federal Express
Copy to Seattle, Washington dated 14 Oct 2017)

9, A reasonable accommodation request (Exhibit 3, Reasonable Accommodation
Request 1“ page sent to Seattle and Exhibit 3, 01-17-2018, Reasonable Accommodation request
sent to Tacoma- awaiting statue) was also submitted with the claim in an effort to kcep it in
Scattle vs. Pierce County due to past unethical experiences with Attorneys Roy Umlauf, Lesley
Fleming, and the Pierce Superior County Court as their willful unethical behavior triggers the

plaintiff's disability (Exhibit 5, 01/17/2018 request- awaiting status). The reasonable

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Case 3:17-cv-05832-RBL Document 23 Filed 01/23/18 Page 5 of 20

accommodation associated with this claim was ignored on about 20 Oct 2017 and the claim was
sent to Pierce County in favor of Roy Umlauf, Jeffrey Kestle, Forsberg & Umiaut.

Under Title IT of the Americans with Disability Act of 1990 (ADA) ($42 USC. 1210] ef
seq.), Americans with Disability Act Amendments Act of 2008 (ADAAA), ARCW 49.60 et seq.,
and Washington State Supreme Court General Rule 33 (GR 33), Washington State Courts are
required to provide accommodations to individuals with disabilities in an effort to provide them
access to any activities (hat are afforded the general public. Ifa requested and Reasonable
Aecommodation is denied, the Washington State eourt shall specify the reasons for the denial
(including the reasons the proceeding cannot be continued without prejudice to a party). The
court shail also ensure the person requesting the accommodation is informed of his or her right
to file an ADA complaint with the United States Department of Justice Civil Rights Division
(GR33).

iL. State Claim vs Federal Claim

10. For the record, this claim is NOT the same Wrongful Death and Civil Rights
(ADA) violation claim which was submitted on or about 26 Oct 2016 to Pierce County State
Court. This claim is a Federal RICO, Civil Rights, Negligence and Willful Discrimination
Violation Claim filed under 42 USC and 1983 and 1985 which affects Service Disabled
Veterans, American Disabled Citizens, ADA Citizens, Minorities, Native Hawalians and
Women.

A. To state a claim under 42 U.S.C. § 1983 (ADA) the Plaintiffs must allege
facts establishing that a state actor has deprived them of a right, privilege or immunity
secured by the United States Constitution or statute. Eldredge v. Town of Falmouth, 662
F.3d 100, 104 (1st Cir. 2011); Tobin v. Univ. of Maine Sys., 62 F. Supp. 2d 162; 165 (D.
Me. 1999); 42 U.S.C. § 1983,

B. DAMAGES FOR DEPRIVATION OF CIVIL RIGHTS. Dismissal under Rule

12(b)(6) is limited to those instances where it is certaim that no rehef could be granted

under any set of facts that could be proved

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Case 3:17-cv-05832-RBL Document 23 Filed 01/23/18 Page 6 of 20

" Markowitz v. Northeast Land Co., 906 F.2d 100, 103 (3d Cir. 1990) (citing Ransom
y. Marrazzo, 848 F.2d 398, 401 (3d Cir, 1988)); see HJ. Ine. v. Northwestern Bell Tel. Co., 492
US, 229, 249-50 (1989). The court will only dismiss the complaint if "it is clear that no relief
could be granted under any set of facts that could be proved consistent with the allegations."”

|S Inc., 492 US. at 249-50 (quoting Hishon v, King & Spalding, 467 U.S. 69, 73 (1984).

Til Parties
15. The Parties are:
A, Plaintiffs:
(1) — Lieutenant Colonel Margaret Bozgoz, Pro Se, Fort Meade, MD
(2) Elda Yockman, Pro Se, Steilacoom, WA. Both litigants are Pro-Se

Litigants.

Davis v. Wechler, 263 U.S. 22, 24: Stromberb y. California, 283 U.S. 359; NAACP v,
Alabama, 375 U.S. 449. "The assertion of federal rights, when plainly and reasonably made, are
not to be defeated under the name of local practice. Picking v. Pennsylvania Railway, 15] F.2d.
240, Third Circuit Court of Appeals. The plaintiff's civil rights pleading was 130 pages and
described by a federal judge as "inept." Nevertheless, it was held "Where a plaintiff pleads pro
se in a suit for protection of civil rights, the Court should endeavor to construe Plaintiff's
Pleadings without regard to technicalities." The practice of Law is an occupation of common
right, the same being a secured liberty right. (Sims v. Aherns, 271 S.W. 720 (1923)

16. B. Defendants:

(1) Roy A. Umlauf, Seattle Washington

(2) Jeffrey T. Kestle, Seattle Washington

(3) Lesley Fleming of Tacoma/Seattle Washington

(4) Forsberg & Umlauf, Seattle Washington

(3) Youssef Essakhi and Jane, Pierce County

(6). LIFE Transportation, Inc., Tacoma, Washington

(7) Zurich America Insurance, William O’Brien, Seattle, Washington
Bozgoz, Margaret:

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Case 3:17-cv-05832-RBL Document 23 Filed 01/23/18 Page 7 of 20

(8) Zurich America Insurance, Daryl! Johnston, IL
(9) Peter Angelo, Law Firm, Baltimore, Maryland
(10) Judge Stanley Rumbaugh, Pierce County
(11) Court Reporter, Caro! Frederick, Pierce County
(12) Court Reporter, Shaun Linse, Pierce County
(13) Court Clerk, Merri Reagan, Pierce County
(14) Attorney Bruce Wolf, Seattle Washington
17. Pro Se Litigant Margaret Bozgoz resides at Fort Meade Maryland, Pro Se Litigant
Elda Yockman resides in Steilacoom, Washington.
18. Although, ADA, ADAA, Title I, Title III, Title VII, 42 USC Section 126, 42
USC 1983 and past precedents authorizes Lieutenant Colonel Margaret Bozgoz to act as Elda
Yockman’s Agent as policies, rules and regulations can be change in an effort to include vs
exclude persons with disabilities, Lieutenant Colonel Margaret Bozgoz and Elda Yockman have
changed/amended their title in this claim to Pro Se Litigants and state the following Claims
against the defendants:
(1) RICO
(2) Willful ADA, ADAA, Title Il, III, VI Violations under 42 U.S.C. § 1983 &
1985
(3) USC 42 Chapter 126
(4) Bad Faith
(5) HIPAA
(6) Willful Negligence
(7) Willful Discrimination under 42 U.S.C, § 1983 & 1985
Bozgoz, Margaret:

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Case 3:17-cv-05832-RBL Document 23 Filed 01/23/18 Page 8 of 20

(8) Willful Emotional Distress |
19, To state a claim under 42 U.S.C. § 1983 (ADA) the Plaintiffs must allege facts
establishing that a state actor has deprived them of a right, privilege or immunity secured by the
United States Constitution or statute. Eldredge v. Town of Falmouth, 662 F.3d 100, 104 (ist Cir.
2011); Tobin v. Univ. of Maine Sys., 62 F. Supp. 2d 162, 165 (D. Me. 1999): 43 U.S.C. § 1983.
The following alleged facts under 42 USC & 1983 [and 42 USC 1985] Follow:
A. Proof of (1) an Exparte Hearing, (2) Due Process Violations, (3) Willful
ADA Discrimination and obstruction to justice (Exhibits: 9, 9A & 9B, 23 Dec 2016,
0953-1000, Exparte Hearing and Fabricate Minutes), (Exhibit 5, Witness Elieen
Eddleman’s Declaration of 23 Dec 2016, 0900 hearing) and (Exhibit 9C, Court Reporter
Carol Frederick’s altered transcript 23 Dec 2016, 0900 hearing). Exhibit 9D, Court Order
of 23 Dec 0900 hearing, Dismissing a Wrongful Death/Civil Rights with merit case with
prejudice as the Plaintiffs phone was disconnected.
B. Proof of: (1) Reasonable Accommodation violations by (a) state (Exhibit
6, Slate Reasonable Accommodation (1* page) ignored/demed 19 Dec 2016 and (b)
Federal Reasonable Accommodation (Exhibit 3), willful neglect, discrimination and
violation of ADA in favor of the defendant.
Jonson y Zerbst, 304 US. 458, 58, 8. Ct 1019; Wuest v. Wuest”, 127 P2d 934, 937, when
a party violates Due Process or Constitutional constraints, jurisdiction is lost and “Where a
court failed to observe safeguard, it amounts to a denial af due process of law; the court is
deprived of jurisdiction”, “Pure Oil Co. v. The city of Northlake”, 10 all 23 (1936). World-Wide
Volkswagen Corp. v. Woodson, 44 U.S. 286 (1980) “A judgment rendered in violation of due
process is void in the rendering State and is not entitled to full faith and credit elsewhere.

Pennoyer v. Neff, 95 US. 714, 732-733(1878)." [World-Wide Volkswagen Corps.v. Woodson,
444 U.S. 286 (7980)].

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Case 3:17-cv-05832-RBL Document 23 Filed 01/23/18 Page 9 of 20

Cc. Proof of: (1) Zurich and Bruce Wolf (Plaintiff's former attorney)
negotiating behind the Plaintiffs back in favor of Zurich in preparation for trial (Exhibit
7, Email! sent from Zurich, Daryl! Johnston to Bruce Wolf regarding trial), Bruce failed to
inform Bozgoz about this meeting). Approximately 3 days after this discussion, Bruce
Wolf Requested the following: (1) requested that Bozgoz signs another retainer, (2)
Requested to meet with Elda Yockman, (3) Offered Elda Yockman $500,000 on behalf of
Zurich to close out the claim. As a result of Bruce Wolf's Elda Yockman was
emotionally shocked and denied the offer and reports Bruce to Bozgoz. Bruce quits
(Exhibit 8, Bruce Wolf quits after Elda informs Bozgoz of his unethical behavior). |
Approximately, one week after Bruce Wolf quits, he attempts to rehire himself in
preparation for court (Exhibit 8A). Bruce Wolf then designs an example of a Wrongful
Death claim for Bozgoz to submit to the court. The claim is in favor Zurich. Bruce Wolf
purposely leave off Elda Yockman’s name on the face of the Claim (Exhibit 88).
Bozgoz take the claim and adds the following: (1) Elda Yockman’s name to the claim
and adds (2) an ADA violation as the intent was to use the authority of the POA and
ADA to submit the claim for (1) the Estate and (2) Elda Yockman (Exhibit 8C). As per
Peter Angelo demand letter the Plaintiff had standing to file on behalf of: (1) the Estate
and (2) Beneficiary (Exhibit 8D). Bruce Wolf was given a copy of this demand letter but
failed to do what was in the best interest of his clients as he should have known.

D. Proof that Court Reporters, Carol Frederick (Exhibit 9C), Court Report
Shaun Lines (Exhibit 10) and Court Clerk Merri Reagan altered and fabricated court
transcripts (Exhibits: 9, 9A & 9B) (Exhibit 4, Witness Statement). Transcripts and
orders were altered and fabricated in favor of Zurich, Life Transportation and Youssef

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Case 3:17-cv-05832-RBL Document 23 Filed 01/23/18 Page 10 of 20

Fssakhi, and Forsberg & Umlaut which is not only obstruction of justice but willful
violation of: (1) due process, (2) neglect and (3) discrimination.

E. HIPAA Law violation between Zurich and Peter Angelo (Plaintiff's
former Attorney) in favor of Zurich. Peter Angelo Law Firm's top attorney, Jay Miller
negotiates with Zurich by writing a demand letter (8D).The demand letter was accidently:
sent to the Plaintiff on or about 1 Jun 2017. The demand letter requested that Zurich pay
Peter Angelo’s Law firm $885,000 in exchange to “not” going to court (8D). Peter
Angelo’s Attomey then offers a $100,000 Settlement to the Plaintiff which the plaintiff
rejects as this negotiation was done in Zurich's favor. The evidence demonstrates (1)
willful misconduct, (2) willful discrimination, (3) willful HIPAA law violation between
Peter Angelo and Zurich (Exhibit 11) and Bad Faith (Exhibit 114A). It also demonstrates
how the Plaintiff's Former Attorncy (Peter Angelo) willfully gave medical records to
Zurich without a retainer and or a release (Exhibit 11C) and against the Federal HIPAA
law.

F. Attorney Lesley Fleming of Forsberg and Umlauf admits that she works
for Zurich on video and at the plaintiff’s Jast minute cancellation reconsideration hearing
(Exhibit: https:/Ayww.youtube.com/watch?v-OhLEJEth2zx4), During the [cancelled]
reconsideration hearing, Attorney Lesley Fleming walks in front of the courtroom [in
front of several witnesses] and informs the Court Clerk, Merri Reagan, Court Reporter
Shaun Linse and Judge Stanley Rumbaugh to watch out about the Plaintiff because they
(Journalist and Reporter, Chris King) and/or Army Public Affairs might attempt to video
tape the hearing, Lesley Fleming’s actions shows a bias connections between Forsberg &
Umlauf, Zurich, a Pierce County Court and the other defendants.

Bozgoz, Margaret:

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Case 3:17-cv-05832-RBL Document 23 Filed 01/23/18 Page 11 of 20

G. - RICO/Bad Faith: The above mentioned actions are strategically orchestrated and
boldly performed by Zurich and its associates directly and or indirectly. Zurich retaliated when
the plaintiffs decided to go to court due to Zurich’s Bad Faith actions with her Attorneys
(Exhibits:11 & 11A). Information/data provided to Zurich [and or the court] were either (1)
ignored (2) tampered with, (3) altered and/or (4) fabricated [in favor of Zurich] thereby
obstructing justice throughout the claim process from 2015 to date.

Anasta soff v. the United States, 223 F.3d 898 (8th Cir. 2000).Litigants’ constitutional
rights are violated when courts depart from precedent where parties are similarly situated. All
litiganis have a constitutional right to have their claims adjudicated according to the rule of
precedent.

20. From 2015 to date, the above named Defendants have been abusing their power,
acted unethically and have been willfully violating ADA Civil Rights.

21. Officers of the Court Personnel (listed below) are responsible for enforcing
Justice. The following Officer of the Courts performed willful unethical acts in violation of
ADA, ADAA, Discrimination against the Plaintiffs and in favor of Zurich America Insurance

(1) Attotney Roy A. Umlauf, Seattle Washington
(2) Attorney Jeffrey T. Kestle, Seattle Washington
(3) Attorney Lesley Fleming of Tacoma/Seattle Washington
(4) Law Firm Forsberg & Umlauf, Seattle Washington
(5) Zurich America Insurance, Aitorney William O’Brien, Seattle,
Washington
(6) Law Firm, Peter Angelo, Attorney Jay Miller, Baltimore, Maryland
(7) Judge Stanley Rumbaugh, Pierce County
(8) Court Reporter, Carol Frederick, Pierce County
Bovyoz, Margaret:

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Case 3:17-cv-05832-RBL Document 23 Filed 01/23/18 Page 12 of 20

(9) Court Reporter, Shaun Linse, Pierce County

(10) Court Clerk, Merri Reagan, Pierce County

(11) Attorney Bruce Wolf, Plaintiff's, Seattle Washington

22, All Defendants listed above (11 cach) have four things in common: (1) They are
all Officers of the Court (2) they are Associated (indirectly and or directly) with Zurich America
Insurance and (3) they all conducted business with Zurich against the Plaintifs, Pro Se Litigant,
Lieutenant Colonel Margaret Bozgoz and Pro Se Litigant, Elda Yockman while willfully (4)
violating/disregarding the Plaintiff's civil rights.
IV. Amended General Allegations and Cause of Actions
23. COMES NOW the Plaintiffs, Pro Se Litigant, Lieutenant Colonel Bozgoz and

Pro Se Litigant, Elda Yockman, amends their initial RICO claim under ADA Title I, Title MI,
VII, 42 US.C. § 1983, 42 USC § 1985 and 42 USC Chapter 126 - EQUAL OPPORTUNITY
FOR INDIVIDUALS WITH DISABILITIES and, for CAUSE OF ACTION against

Defendants:

(i) Attommey Roy A. Umlauf, Seattle Washington

(2) Attorney Jeffrey T. Kestle, Seatthe Washington

(3)  Attotney Lesley Fleming of Tacoma/Seattle Washington

(4) Law Firm, Forsberg & Umlauf, Seattle Washington

(5) Youssef Essakhi and Fane, Pierce County

(6). LIFE Transportation, Inc., Tacoma, Washington

(7) Zurich America Insurance, William O’Brien, Seattle, Washington

(8) Zurich America Insurance, Daryll Johnston, Schaumburg, IL

(9) Law Firm Peter Angelo, Jay Miller, Baltimore, Maryland
Bozgoz, Margaret:

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Case 3:17-cv-05832-RBL Document 23 Filed 01/23/18 Page 13 of 20

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Honorable Judge Stanley Rumbaugh, Pierce County
Court Reporter, Carol Frederick, Pierce County
Court Reporter, Shaun Linse, Pierce County

Court Clerk, Merri Reagan, Pierce County

Attorney Bruce Wolf, Scattle Washington

24.  ALLEGES AND STATES AS FOLLOWS.

(1) Count 1: RICO (ALL Defendants)

(2) Count 2: Violation of TITLE If (ALL Defendants)

(3) Count 3: Violation of TITLE TH (ALL Defendants)

(4) Count 4: Violation of TITLE VII under 42 USC 1983/1985 (ALL Defendants)

(5) Count 5: HIPAA Violation (Zurich and Peter Angelo)

(6) Count 6: Emotional Stress under 42 USC 1983/1985 (ALL Defendants) |

(7) Count 7: Violation of 42 U.S.C. Chapters 126, EQUAL OPPORTUNITY FOR

INDIVIDUALS WITH DISABILITIES (ALL Defendants)

(8) Count 8: Willful Negligence and Discrimination under 42 USC 1983/1985

(ALL Defendants)

25. The Plaintiffs: (1) Lieutenant Colonel Margaret Bozgoz, Pro Se and (2) Elda

Yockman, Pro Se and Defendants:

(1)
(2)
(3)
(4)
(5)

Bozgoz, Margaret:

Attorney Roy A. Umlauf, Seattle Washingion

Attomey Jeffrey T. Kestle, Seattle Washington

Attorney Lesley Fleming of Tacoma/Seattle Washington
Law firm, Forsberg & Umilauf, Seattle Washington

Youssef Essakhi and Jane, Pierce County

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Case 3:17-cv-05832-RBL Document 23 Filed 01/23/18 Page 14 of 20

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LIFE Transportation, Inc., Tacoma, Washington

Zurich America Insurance, William O’Brien, Seatile, Washington
Zurich America Insurance, Daryll Johnston, Schaumburg, IL
Law Firm Peter Angelo, Jay Miller, Baltimore, Maryland
Honorable Judge Stanley Rumbaugh, Pierce County

Court Reporter Carol Frederick, Pierce County

Cout Reporter Shaun Linse, Pierce County

Court Clerk, Merri Reagan, Pierce County

Attomey Bruce Wolf, Plaintiff's, Seattle Washington

are at all times material hereto associated with (Directly or Indirectly) and worked for: (1)

Zurich America Insurance, (2) Life Transportation, (3) Peter Angclo Law firm , (4) Pierce

County State/Superior Court, (5) Attorney Bruce Wolf, and/or (6) Law Firm Forsberg &

Umlauf.

26. All acts performed by Defendants on the face of the claim were performed on

behalf and for (1) Zurich America Insurance, (2) Life Transportation, (3) Peter Angelo Law

Firm, (4) Pierce County State/Superior Court, (5) Attorney Bruce Wolf, and/or (6) Forsberg

& Umlauf Law Firm and are therefore vicariously liable for the acts of the Defendants:

(1)
(2)
(3)
(4)
(5)
(6).

Bozgoz, Margaret:

Attorney Roy A. Umlauf, Seattle Washington

Attomey. Jeffrey T. Kestle, Seatile Washington

Attorney Lesley Fleming of Tacoma/Seatile Washington
Law Firm Forsberg & Umlauf, Seattle Washington
Youssef Essakhi and Jane, Pierce County

LIFE Transportation, Inc., Tacoma, Washington

Burr Court Unit A - Fort Meade, MD 20755
410-858-0107 or 540-816-0950 (ADA Advocate)

 

 
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Case 3:17-cv-05832-RBL Document 23 Filed 01/23/18 Page 15 of 20

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(11)
(12)
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(14)

Zurich America Insurance, William O’Brien, Seattle, Washington

~ Fyrich America Insurance, Daryll Johnston, Schaumburg, IL

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Court Clerk, Merri Reagan, Pierce County

Atiorncy Bruce Wolf, Plaintiff's, Seattle Washington

27. The following Defendants listed below either owned property and/or worked in

Maryland, Washington State and/or Schaumburg, IL at ail times material hereto, was authorized

to conduct business in Maryland, Washington State and/or Schaumburg, IL

(1)
(2)
3)
(4)
(5).
(6)
(7)
(8)
(9)
(10)
(11)
(12)

Bozgoz, Margaret:

Attorney Roy A. Umiauf, Seattle Washington

Attomey Jeffrey T. Kestle, Seattle Washington |

Attomey Lesley Fleming of Tacoma/Seatile Washington
Youssef Essakhi and Jane, Pierce County

Zurich America Insurance, William O’Brien, Seattle, Washington
Zurich America Insurance, Daryll Johnston, Schaumburg, IL
Attomey Jay Miller of Peter Angelo, Law Firm, Baltimore, Maryland
Honorable Judge Stanley Rumbaugh, Pierce County

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Case 3:17-cv-05832-RBL Document 23 Filed 01/23/18 Page 16 of 20

28. The incidents giving rise to these causes of actions occurred in Maryland,
Washington State and/or Schaumburg, [L

29, ADA, ADAA, Title I, Title II, Title IL, Title V and Title VII, 42 USC 1983, 42
USC 1985 and 42 USC Chapter 126 applies as both, Pro Se Litigants (1) Lieutenant Colonel
Margaret Bozgox and (2) Pro Se Litigant Elda Yockman fall under and/or are protected by the
ADA as a Service Disabled Veterans and/or Disabled Citizen.

| 30. Congress found that people with a disability, ag a group, occupy an inferior status
in our society, and severely disadvantaged socially and economically. The Nation’s goals
regarding individuals with disabilities are to assure equality of opportunity, full participation,
independent living and economic self-sufficiency for such persons and the continuing existence
of unfair and unnecessary discrimination and prejudice denies people with disabilitics the
opportunity to compete on an equal basis and to pursue those opportunities and justice for which |
our frce society is justifiably famous.

31. Section 12182, Section D, states clearly that an individual or entity shall noi,
directly or through contractual or other arrangements, utilize standards or criteria or methods of
Administration (i) that have the effect of discriminating on the basis of disability; or (11) that
perpetuate the discrimination of others who are subject to common administrative control.

32. The ADA and Title 42 Authority also calls upon the Attorney General to act upon
any person or group of individuals who have been discriminated against under Title 42 as this
raises an issue of general PUBLIC importance.

As per Title 42, Chapter 126: The Supreme Court has warned, "Because of what appear
to be Lawful commands on the surface, many citizens, because of their respect for what seems to
be law, are cunningly coerced into waiving their rights, due to ignorance [and deceptive
practices in inferior administrative State courts].” (United States v. Minker, 350 U.S. 179, 187,
76 S.Ct. 281, 100 L.Ed. 185 (1956), the general misconceplion among the public being that any
Bozgoz, Margaret:

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Case 3:17-cv-05832-RBL Document 23 Filed 01/23/18 Page 17 of 20

exercise of state regulatory or police power bearing the appearance of law is in fact in
aereement with the law of the land, and is, therefore, legitimate in its operation as imposed. A
statute is nota "Law," (Flournoy v. First Nat. Bank of Shreveport, 197 La. 1067, 3 So.2d 244.
248). a concurrent or joint resolution of legislature is not "a law.” (Koenig v. Flynn, 258 NY.
292, 179 NE. 705, 707: Ward v. State, 176 OR. 368, 56 P.2d 136, 137; State ex rel. Todd v.
Yelle, 7 Wash.2d 443. 110 P.2d 162, 165), nor is 'Code' "Law" (In Re Self v Rhay, 61 Wn (2d)
261) these being defined by Black's Law Dictionary 3th as rebuttable prima facie, or superficial
evidence of law, a facade, represented by ‘public policy,' being color-able, ar ‘color of law,’

further being counterfeited. feigned, or Defacio, as further defined thereby. Judges do not

enforce statutes and codes. Executive Administrators, in their private person with no Lmmiunity

for their non judicial functions enforce ordinances and codes. (FRC vs. GE 28] US, 464; Keller

vs. PE 2617 U8. 428, 1 Stat. 138-176)

33. The Defendants willfully ignored ADA rights and employed unconstitutional!
tactics to emotionally disturb, disrupt, infringe upon the plaintiff's constitutional due process
rights to a fair trial in favor of Zurich.

34. The Plaintiffs are entitled to damages for RICO, ADA, ADAA, Title II, Title
IE, Title V, Title VU, 42 USC 1983, 1985, 42 Chapter 126, HIPAA, Bad Faith, Willful
Negligence, Willful Discrimination and Willful Emotional Distress Violations. In addition,
Plaintiffs request damages pursuant to 42 U.S.C. sections 1983 and 1985 and for violations of
plaintiff's rights under the ist, 7th, 8th and 14th Amendments to the United States
Constitution. Evidence of Defendants’ misconduct has been collected by notable and historic
civil rights and advocacy organizations, in addition placed on videos. Declarations of
witnesses who were present in the court room (23 Dec 2016 and 24 Feb 2017) and video and
audio recordings of the Defendants” actions have been collected from 2015 to date. Further,
upon information and belief, Defendants (court Reporters) have custody and control of audio
recordings which also contain further evidence of Defendants’ conduct required to “accept as
true all the factual allegations in the complaint and construe all reasonable inferences for the
plaintif.

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Case 3:17-cv-05832-RBL Document 23 Filed 01/23/18 Page 18 of 20

35. The amount will be proven at the time of inal together with interest thereon at the

statutory rate from the date that the expenses were incurred.
Vv
PRAYER

36. WHEREFORE, Plaintiff prays for judgement against the defendants in an amount
of damages determined to be fair and reasonable as shall be proven at the time of trail and
allowed by regulations plus pre-judgment interest at the hi chest tate allowed by law, plus taxable
costs, and disbursements, plus interest on the judgment at the highest rate allowed by law from
ithe date the judgment is rendered until paid, and for such other and further relief that the Court
deems as just, equitable, proper in these circumstances.

DATED this a

étodz
oon Pro Se

_day of January 2018

    

Bozgoz, Margaret:
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Case 3:17-cv-05832-RBL Document 23 Filed 01/23/18 Page 19 of 20

THE UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF

WASHINGTON

Margaret Bozgoz, Pro Se
Plaintiffs,
Elda Yockman, Pro Se

vs.

ROY A. UMLAUF, JEFFREY T. KESTLE,
& LESLEY FLEMING of

Forsberg & Umlanuf

YOUSSEF ESSAKHI and JANE DOE
ESSAKHIL, husband and wife,

LIFE TRANSPORTATION INC.,
Washington Corporation,

ZURICH AMERICA INSURANCE
Rep: DARYLL JOHNSTON and ATTORNEY
WILLIAM OBRIEN —

STANELY RUMBAUGH
Pierce County Judge

CAROL FREDERICK
Pierce County Court Reporter

SHAUN LINSE
Pierce County Court Reporter

MERRI REAGAN
Pierce County Court Clerk

PETER ANGELO LAW FIRM
Plaintiff's Former Attorney

BRUCE WOLF
Plaintiff's Former Attorney
Defendants

No.: 3:17-cv-05832-RBL

PROOF OF SERVICE
AMENDED CLAIM

RICO

ADA Civil Rights Violation under: TITLE II,
TITLE UT & Title VII

4? U.S.C, Chapter 126

42 USC § 1983

42 USC §1985

Bad Faith

HIPAA

Willful Negligence

Willful Discrimination
Willful Emotional Distress

 

 

 

 

 
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Case 3:17-cv-05832-RBL Document 23 Filed 01/23/18 Page 20 of 20

CERTIFICATE OF SERVICE

‘The undersigned certifies under the penalty of perjury under the laws of the State
Washington that I am now and at all times herein mentioned, a citizen of the United
States, a resident of the Georgia, over the age of eighleen years, not a
party to or interested in the above-entitled actions, and competent to be a witness
herein.

On the date given below | caused to be served the foregoing Amended
Claim on the following individuals in the manner indicated:

FOREBERGE & UMLAUF, P.S.
LESLEY FLEMING

ROY A. UMLAUF

Jeffrey T Kesler

901 5" Ave #1400,
Seattle, WA 98164

(X) Via US Mail -To the Defendants

() Via Facsimile

( ) Via Hand Delivery — Wil! hand deliver as well
(X ) Via ECF/EMAIL

SIGNED this 22 January 2018

 

re

Edwina South

 
